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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Robert Saiger, et al.
                                 Plaintiff,
v.                                                     Case No.: 1:17−cv−02243
                                                       Honorable Amy J. St. Eve
Microsoft Corporation
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 6, 2017:


        MINUTE entry before the Honorable Amy J. St. Eve: Plaintiffs' motion to extend
the reinstatement date [40][42] is granted. The dismissal of this case, without prejudice,
with leave to reinstate is extended to 11/24/17. During this time, the Court shall retain
jurisdiction over the case and jurisdiction to enforce the settlement. After 11/24/17, said
dismissal will automatically convert to a dismissal with prejudice. No appearance is
required on the 11/20/17 notice motion date. Mailed notice(kef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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